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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                                Crim. No. 20-106 (DWF/BRT)

                       Plaintiff,

 v.

 (1) Lamond Leroy McCabe,                                       ORDER
 also known as Pimp; and
 (2) Mario Jermaine Rolack,
 also known as Rio,

                       Defendants.


Ruth Shnider, Esq., United States Attorney’s Office, counsel for Plaintiff.

Robert J. Shane, Esq., Shane Law Office, counsel for Defendant McCabe.

Deborah K. Ellis, Esq., Ellis Law Office, counsel for Defendant Rolack.


       This action came before the Court on October 16, 2020, for a hearing at the U.S.

Courthouse, 316 North Robert Street, St. Paul, MN 55101. The Defendants and the

Government presented various pretrial motions. Based on the file and documents

contained herein, along with the memoranda and arguments of counsel, the Court makes

the following Order:

       1.     Government’s Motions for Discovery Pursuant to Federal Rules of

Criminal Procedure 16(b), 12.1, 12.2, 12.3 and 26.2. The Government seeks disclosure

of documents and tangible objects, reports of examinations and tests, and a written

summary of expert testimony pursuant to Fed. R. Crim. P. 16(b). The Government also
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seeks disclosure of any alibi by the Defendants pursuant to Fed. R. Crim. P. 12.1, and all

witness statements pursuant to Fed. R. Crim. P. 26.2. In addition, the Government seeks

notice (by the pretrial-motions-hearing date) pursuant to Fed. R. Crim. P. 12.2, if

Defendants intend to rely upon the defense of insanity or introduce expert testimony

relating to a mental disease or defect or any other mental condition of the Defendants

bearing on the issue of guilt. The Government also seeks notice (by the pretrial-motions-

hearing date) pursuant to Fed. R. Crim. P. 12.3, if Defendants intend to rely upon the

defense of actual or believed exercise of public authority on behalf of a law enforcement

agency or federal intelligence agency at the time of the offense. Defendants filed no

objection to the motions. Therefore, Defendants are hereby ordered to comply with the

discovery and disclosure obligations under the aforementioned rules. The Government’s

Motions for Discovery Pursuant to Federal Rules of Criminal Procedure 16(b), 12.1,

12.2, 12.3 and 26.2 (Doc. Nos. 21, 39) are GRANTED. The parties must disclose the

identity of any non-rebuttal experts and all non-rebuttal expert disclosures 30 days before

trial. Any rebuttal experts must be noticed along with the production of rebuttal expert

disclosures no later than 10 days before trial.

       2.     Defendant McCabe’s Request for Discovery and Inspection Pursuant

to Rule 16. Defendant McCabe requests an order requiring the Government to produce or

permit various items of discovery, inspection, and copying pursuant to Fed. R. Crim. P.

16 and any other statutory or constitutional rules. The Government does not object to

Defendant’s request. Defendant McCabe’s Request for Discovery and Inspection

Pursuant to Rule 16 (Doc. No. 20) is GRANTED to the extent that it conforms to Fed. R.

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Crim. P. 12, 16, and 26.2 and is not already moot. The motion is DENIED to the extent

that the Jencks Act protects disclosure, and identification of witnesses shall be done in

accordance with the District Court’s pretrial order on disclosure of witness and exhibit

lists. Within 10 days of the date of this Order, the Government must disclose all Brady

and Giglio information in its possession or of which it has become aware as of the date of

this Order and must promptly supplement its disclosure upon receipt of any additional

Brady and Giglio information not previously disclosed. The parties must disclose the

identity of any non-rebuttal experts and all non-rebuttal expert disclosures 30 days before

trial. Any rebuttal experts must be noticed along with the production of rebuttal expert

disclosures no later than 10 days before trial. The Government must disclose Rule 404

evidence no later than 14 days prior to trial. Identification of witnesses shall be done in

accordance with the District Court’s pretrial order on disclosure of witness and exhibit

lists.

         3.   Defendant McCabe’s Motion to Suppress Evidence Obtained from

Laurel Village Management Office and Franks Hearing. Defendant McCabe seeks an

order suppressing all evidence obtained from the execution of the search warrant on

March 23, 2020, at the Laurel Village Management Office. Defendant McCabe has

withdrawn his request for a Franks Hearing. (Doc. No. 64.) The Government opposes the

motion to suppress. The Court requests post-hearing briefing on the issue. Defendant

McCabe shall file his post-hearing brief no later than December 14, 2020, and the

Government shall file its response by December 30, 2020. The Court will take Defendant

McCabe’s Motion to Suppress Evidence Obtained from Laurel Village Management

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Office (Doc. No. 29) under advisement on December 30, 2020, and issue a Report and

Recommendation to the District Court.

      1.     Defendant McCabe’s Motion to Suppress Evidence Obtained from

Ion Swab on Exterior Apartment Door [ ] and Franks Hearing. Defendant McCabe

seeks an order suppressing the ion swab evidence obtained from the execution of the

search warrant on March 25, 2020, at an apartment. Defendant McCabe has withdrawn

his request for a Franks Hearing. (Doc. No. 64.) The Government opposes the motion to

suppress. The Court requests post-hearing briefing on the issue. Defendant McCabe shall

file his post-hearing brief no later than December 14, 2020, and the Government shall

file its response by December 30, 2020. The Court will take Defendant McCabe’s

Motion to Suppress Evidence Obtained from Ion Swab on Exterior Apartment Door

(Doc. No. 30) under advisement on December 30, 2020, and issue a Report and

Recommendation to the District Court.

      2.     Defendant McCabe’s Motion to Suppress Evidence Obtained from

the Warrantless Seizure of the Defendant’s Buick Enclave. Defendant McCabe seeks

an order suppressing all evidence obtained from the warrantless seizure of Defendant

McCabe’s Buick Enclave on March 25, 2020. The Government opposes the motion to

suppress. The Court requests post-hearing briefing on the issue. Defendant McCabe shall

file his post-hearing brief no later than December 14, 2020, and the Government shall

file its response by December 30, 2020. The Court will take Defendant McCabe’s

Motion to Suppress Evidence Obtained from the Warrantless Seizure of the Defendant’s



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Buick Enclave (Doc. No. 31) under advisement on December 30, 2020, and issue a

Report and Recommendation to the District Court.

       3.     Defendant McCabe’s Motion to Suppress Evidence Obtained from

the Search of the Buick Enclave and Franks Hearing. Defendant McCabe seeks an

order suppressing all evidence obtained from the execution of a search warrant on

March 25, 2020, on Defendant’s Buick Enclave. Defendant McCabe has withdrawn his

request for a Franks Hearing. (Doc. No. 64.) The Government opposes the motion to

suppress. The Court requests post-hearing briefing on the issue. Defendant McCabe shall

file his post-hearing brief no later than December 14, 2020, and the Government shall

file its response by December 30, 2020. The Court will take Defendant McCabe’s

Motion to Suppress Evidence Obtained from the Search of the Buick Enclave (Doc.

No. 32) under advisement on December 30, 2020, and issue a Report and

Recommendation to the District Court.

       4.     Defendant McCabe’s Motion to Suppress Evidence Obtained from

the Search of [the Laurel Apartment]. Defendant McCabe seeks an order suppressing

all evidence obtained from the execution of a search warrant on March 25, 2020, at an

apartment. Defendant McCabe has withdrawn his request for a Franks Hearing. (Doc.

No. 64.) The Government opposes the motion to suppress. The Court requests post-

hearing briefing on the issue. Defendant McCabe shall file his post-hearing brief no later

than December 14, 2020, and the Government shall file its response by December 30,

2020. The Court will take Defendant McCabe’s Motion to Suppress Evidence Obtained



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from the Search of [the Laurel Apartment] (Doc. No. 33) under advisement on

December 30, 2020, and issue a Report and Recommendation to the District Court.

      5.     Defendant Rolack’s Motion for Suppression of Evidence Obtained as a

Result of Unlawful Searches. Defendant Rolack seeks an order suppressing all evidence

obtained from the following searches: (1) March 25, 2020 search of Astro vehicle;

(2) March 25, 2020 search of residence in Dayton, Minnesota; (3) searches of Rolack’s

Facebook account and postings; and (4) searches of Rolack’s cell phones. The

Government opposes the motion to suppress. The Court requests post-hearing briefing on

the issue. Defendant Rolack shall file his post-hearing brief no later than December 14,

2020, and the Government shall file its response by December 30, 2020. The Court will

take Defendant Rolack’s Motion for Suppression of Evidence Obtained as a Result of

Unlawful Searches (Doc. No. 53) under advisement on December 30, 2020, and issue a

Report and Recommendation to the District Court.

      6.     Defendant Rolack’s Motion for Disclosure of Impeaching Information

and Exculpatory Evidence. Defendant Rolack moves, pursuant to Brady v. Maryland,

373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and their progeny, for

an order compelling the Government to disclose all evidence favorable to him. The

Government states that it will comply fully with its obligations under Brady and Giglio.

Defendant Rolack represents that since the filing of the motion, the parties have reached

agreement on the disclosure of exculpatory evidence. (Doc. No. 65.) Defendant Rolack’s

Motion for Disclosure of Impeaching Information and Exculpatory Evidence (Doc.

No. 54) is GRANTED to the extent it is not moot. Within 10 days of the date of this

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Order, the Government must disclose all Brady and Giglio information in its possession

or of which it has become aware as of the date of this Order and must promptly

supplement its disclosure upon receipt of any additional Brady and Giglio information

not previously disclosed.

       7.     Defendant Rolack’s Pretrial Motion for Disclosure of 404(b) Evidence.

Defendant Rolack moves for immediate disclosure of any “bad act” or “similar course of

conduct” evidence that the Government intends to offer at trial pursuant to Fed. R. Evid.

404, and to further direct the Government to identify the witnesses through whom such

evidence will be presented at trial. The Government objects to immediate disclosure, but

represents that it will comply with Rule 404 and that it is agreeable to disclosure 14 days

prior to trial. Defendant Rolack represents that since the filing of the motion, the parties

have reached agreement on the disclosure of Rule 404(b) evidence. (Doc. No. 65.)

Defendant Rolack’s Pretrial Motion for Disclosure of 404(b) Evidence (Doc. No. 55) is

GRANTED to the extent that the Government must disclose Rule 404 evidence no later

than 14 days prior to trial. Identification of witnesses shall be done in accordance with

the District Court’s pretrial order on disclosure of witness and exhibit lists.

       8.     Defendant Rolack’s Motion for Government Agents to Retain Rough

Notes and Evidence. Defendant Rolack moves for an order requiring law enforcement

agents, including any confidential reliable informants, to retain and preserve all rough

notes taken as part of their investigation into this case, and to preserve all evidence seized

in the course of the investigation. The Government does not object to the motion and

represents that it has instructed its agents to do so. Defendant Rolack’s Motion for

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Government Agents to Retain Rough Notes and Evidence (Doc. No. 56) is GRANTED.

However, disclosure of rough notes is not required by this Order.

      9.     The voir dire, jury instructions, and trial related motions due date, along

with the trial date, are to be determined by U.S. District Judge Donovan W. Frank.


Date: October 19, 2020
                                                        s/ Becky R. Thorson
                                                       BECKY R. THORSON
                                                       United States Magistrate Judge




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